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                                                         See e.g. Ex. A at ¶ 69




                                                             ); see also Ex. A ¶¶ 13, 23,

 54, 58, 68, 74, 75, 77, 78, and 79.




                                       ECF 324 at 4:17-24.




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        For the reasons provided above,

                                    , Luminati respectfully requests that the Court sanction Teso

 granting any relief as appropriate including ordering Defendants to file a corrective notice in the

 Lithuania Proceeding notifying the Vilnius Regional Court that (i) this litigation was resolved

 through a mutual settlement agreement reached between the Parties, (ii) that this Court did not

 make a merits judgment, (iii) that Teso’s claims of non-infringement and invalidity were dismissed

 with prejudice as well as Luminati’s claims of infringement, (iv) that the dismissal was merely the

 procedural means by which the Court carried out the parties’ mutual agreement, and (v) that Teso

 had previously been sanctioned for making misleading statements regarding the resolution of this

 action. In addition, Luminati requests that the Court prohibit Defendants and their counsel from

 disseminating misleading statements and mischaracterizations regarding the resolution of this

 case. Finally, Luminati requests a protective order prohibiting Teso’s counsel in the Lithuanian

 Proceeding,                                                                       , from accessing

 Luminati’s Attorneys’ Eyes Only information in this case, Tesonet II and/or Tesonet III.



 Dated: August 21, 2020                       Respectfully submitted,

                                              By: /s/ Korula T. Cherian
                                              Korula T. Cherian
                                              Robert Harkins
                                              RuyakCherian LLP
                                              1936 University Ave, Ste. 350
                                              Berkeley, CA 94702
                                              Telephone: (510) 944-0190
                                              sunnyc@ruyakcherian.com
                                              bobh@ruyakcherian.com

                                              Amadou Kilkenny Diaw
                                              Ronald Wielkopolski
                                              RuyakCherian LLP
                                              1901 L St. NW, Suite 700
                                              Washington, DC 20036

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                                              Telephone: (202) 838-1560
                                              amadoukd@ruyakcherian.com
                                              ronw@ruyakcherian.com

                                              S. Calvin Capshaw (State Bar No. 03783900)
                                              Elizabeth L. DeRieux (State Bar No. 05770585)
                                              Capshaw DeRieux, LLP
                                              114 E. Commerce Ave.
                                              Gladewater, TX 75647
                                              Telephone: 903-845-5770
                                              ccapshaw@capshawlaw.com
                                              ederieux@capshawlaw.com

                                              J. Mark Mann
                                              State Bar No. 12926150
                                              mark@themannfirm.com
                                              G. Blake Thompson
                                              State Bar No. 24042033
                                              blake@themannfirm.com
                                              MANN | TINDEL | THOMPSON
                                              300 West Main Street
                                              Henderson, Texas 75652
                                              (903) 657-8540
                                              (903) 657-6003 (fax)

                                              Counsel for Plaintiff
                                              Luminati Networks Ltd.




                                 CERTIFICATE OF SERVICE
         I hereby certify that all counsel of record who are deemed to have consented to electronic
 service are being served this 21st day of August 2020, with a copy of this document via electronic
 mail.


                                              /s/ Korula T. Cherian




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                             CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that the counsels for the parties have complied with Local

 Rule CV-7(h). Ronald Wielkopolski, Betty DeRieux and Mark Mann on behalf of Plaintiff and

 Steven Callahan and Michael Smith on behalf of Defendant engaged in a telephonic meet and

 confer on August 21, 2020. Defendants oppose this motion.




                                             /s/ Ronald Wielkopolski


             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL
         I hereby certify that the foregoing document is being filed under seal pursuant to the
 Protective Order entered in this matter.


                                             /s/ Korula T. Cherian




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